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witness. As to any such witness, the government will disclose all Jencks material and all Rule
404(b) evidence at the same time.

a; All discovery is provided on the condition that counsel will not give copies of this
material to the client or to anyone outside counsel's office, absent prior approval of this office.
Counsel may of course review this material with the client at any time or place, and may provide
copies to any expert consulted by the defense. If copies are provided to an expert, defense
counsel must instruct the expert that further disclosure of the documents is prohibited absent
prior approval of this office.

6. Should counsel file any routine motion with the Court which seeks discovery
pursuant to Rule 16 or Brady, then this discovery agreement will be void, and the Government is
not bound by any of the provisions herein. Specifically, Jencks and Giglio material may not be
provided until the first day of trial if the defendant should file such a motion.

a Should counsel file any motion with the Court which seeks material under the
Jencks Act, then this agreement is void and Jencks and Giglio material may not be provided until
the first day of trial.

 

8. The Government may be providing, as a courtesy, material which is not
discoverable under Rule 16, Jencks, Giglio or Brady. The fact that certain non-discoverable
materials are provided in no way obligates the Government to provide all non-discoverable
materials, and the fact that certain non-discoverable materials are provided should never be taken
as a representation as to the existence or non-existence of any other non-discoverable materials.

10. Notwithstanding any contrary provision of this agreement, the United States
reserves the right to withhold any discovery that would disclose the identity or location of a
witness, if in the government’s opinion the safety of any person would be compromised. If such
circumstances occur, the government will notify you of the existence of an additional witness or
witnesses whose identity is being withheld.

11. Please note that it is the policy of this Office that the government will not
stipulate to a three level reduction in offense level pursuant to §3E1.1 of the United States
Sentencing Guidelines unless the defendant has entered into a signed written plea agreement
with the government on or before the date set for the filing of pretrial motions.
